                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION


ROBERT J. THOMAS, JR.,                            )
                                                  )
               Movant,                            )
                                                  )
       vs.                                        )   Case No. 22-0221-CV-W-GAF-P
                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
               Respondent.                        )



                                            ORDER


       This case involves a motion to vacate sentence pursuant to 28 U.S.C. § 2255. Previously,

the Court ordered Movant to file a reply to the Government’s response by May 26, 2022. Doc. 5.

Movant has failed to do so. Therefore, this cased is dismissed without prejudice pursuant to

Federal Rule of Civil Procedure 41(b) for Movant’s failure to comply with the Court’s order.

Movant is advised that any motion to reopen this case will be denied unless it is filed in a timely

manner and accompanied by a reply to the Government’s response. Movant also is advised that,

although his claims are dismissed without prejudice, they are subject to the period of limitation set

out in § 2255(f).

       So ORDERED.



                                              /s/ Gary A. Fenner
                                              GARY A. FENNER
                                              UNITED STATES DISTRICT JUDGE
Kansas City, Missouri,

Dated: June 6, 2022.




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